

Matter of Panella (2023 NY Slip Op 04010)





Matter of Panella


2023 NY Slip Op 04010


Decided on July 28, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 28, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., LINDLEY, CURRAN, MONTOUR, AND OGDEN, JJ.


333 CA 22-01753

[*1]IN THE MATTER OF THE ESTATE OF RICHARD N. PANELLA, DECEASED. NICOLE A. IVIE AND STEPHEN R. PANELLA, PETITIONERS-APPELLANTS; DEBORAH WHALEN PANELLA, RESPONDENT-RESPONDENT. (APPEAL NO. 3.)






BYRNE, COSTELLO &amp; PICKARD, P.C., SYRACUSE (JORDAN R. PAVLUS OF COUNSEL), FOR PETITIONERS-APPELLANTS. 
BARCLAY DAMON LLP, SYRACUSE (JON P. DEVENDORF OF COUNSEL), FOR RESPONDENT-RESPONDENT. 


	Appeal from an amended order of the Surrogate's Court, Oneida County (Louis P. Gigliotti, S.), entered October 11, 2022. The amended order dismissed the petition. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Matter of Estate of Panella ([appeal No. 2] — AD3d — [July 28, 2023] [4th Dept 2023]).
Entered: July 28, 2023
Ann Dillon Flynn
Clerk of the Court








